      Case 1:19-cr-10080-NMG Document 1098 Filed 04/22/20 Page 1 of 22



                          UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

____________________________________
                                                )
UNITED STATES OF AMERICA                        )
                                                )
                                                )
                   v.                           )    Case No. 1:19-CR-10080-NMG
                                                )
                                                )
DAVID SIDOO, et al.,                            )
                                                )
                             Defendants.        )
                                                )




             MICHELLE JANAVS’ MOTION TO MODIFY SENTENCE

                   Leave to file granted on April 21, 2020 [Dkt. 1095]
       Case 1:19-cr-10080-NMG Document 1098 Filed 04/22/20 Page 2 of 22



I.     INTRODUCTION

       Michelle Janavs is a non-violent first offender who poses no risk of danger to the public

and very little risk of reoffending. Her advisory guideline sentencing range is zero to six months.

When this Court sentenced Ms. Janavs to five months’ imprisonment, at the high end of that range,

it did so in order to punish her and to send a message to others.

       The Court accomplished that goal. All the major news networks covered Ms. Janavs’

sentencing. Sincerely remorseful and ashamed of her actions, Ms. Janavs accepted the punishment

that the Court imposed on her. She arranged to immediately surrender to the Bureau of Prisons

(“BOP”) because she wanted to put this behind her and focus on making amends for her crime.

She does not intend to pursue an appeal or post-conviction relief. But given Ms. Janavs’

underlying health condition and the deadly COVID-19 pandemic that is spreading throughout the

BOP, serving a carceral sentence would pose a serious risk to Ms. Janavs’ health, as well as to

other BOP inmates, BOP staff, and their families.

       COVID-19, a deadly and highly contagious virus, has spread rapidly across the globe. As

of April 21, 2020, the United States has more confirmed cases and more deaths from the virus than

any country in the world. 1 It has spread quickly throughout the U.S. population. On March 1,

2020, there were 89 confirmed cases; six weeks later, the U.S. had over 500,000 confirmed cases,

and today there are 826,184 confirmed cases. 2 Since the pandemic began, at least 45,150 people

have died from COVID-19 in the United States. 3




1
  Johns Hopkins University of Medicine, Coronavirus COVID-19 Global Cases, Center for
Systems Science and Engineering, last visited April 22, 2020, available at
https://coronavirus.jhu.edu/map.html (updated daily) (hereafter, “COVID-19 Global Cases
Tracker”).
2
  See Id.
3
  See Id.

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       Case 1:19-cr-10080-NMG Document 1098 Filed 04/22/20 Page 3 of 22



       As grim as these figures appear, they pale in comparison to the infection and death rates in

the BOP. On March 20, 2020 the BOP reported just two COVID-19-positive inmates and staff.

Today there are over 1,000 reported cases. 4 At least 23 BOP prisoners have died from COVID-

19. 5 There is no vaccine or treatment. The only way to prevent infection is to engage in aggressive

“social distancing:” avoiding all unnecessary personal interaction or group settings, maintaining

extreme levels of personal hygiene such as frequent hand-washing, and wearing gloves and a face-

covering while near others. 6 None of these precautions is possible in BOP custody.

                                               REDACTED




4
  Federal Bureau of Prison, COVID-19 Cases, available at
https://www.bop.gov/coronavirus/index.jsp (updated daily) (hereafter, “BOP COVID-19
Cases”).
5
  Id.
6
  CDC, How to Protect Yourself and Others, (last visited April 22, 2020), available at
https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/prevention.html (hereafter,
“How to Protect Yourself and Others”).
7
  See infra at Section III(B).
                                              2
       Case 1:19-cr-10080-NMG Document 1098 Filed 04/22/20 Page 4 of 22



       In sum, if Ms. Janavs were to surrender to BOP custody, she is highly likely to become

infected with COVID-19. And because of her underlying health condition, she faces a much higher

risk than others of serious complications, hospitalization, or death from the virus.

       By contrast, home incarceration in lieu of BOP custody for the same period would impose

sufficient punishment without the corresponding risk of disease and death. The United States

Attorney General has already instructed BOP to consider transferring vulnerable, non-violent

offenders like Ms. Janavs to home confinement. 8 However, there is no guarantee that BOP will

transfer Ms. Janavs in a timely fashion (or at all). And even if it does, BOP’s process of

transferring vulnerable inmates to home confinement has been arbitrary and unpredictable, and it

has created unnecessary risk and hardship for both prisoners and BOP staff.

       Taking into account the seriousness of the offense and the need for just punishment, 18

U.S.C. § 3553(a)(2)(A), the need to protect the public, 18 U.S.C. § 3553(a)(2)(C), and the need to

provide necessary medical care, 18 U.S.C. § 3553(a)(2)(D), Ms. Janavs respectfully moves

pursuant to 18 U.S.C. § 3582(c) to modify her sentence to a five-month term of home confinement.

       The government has authorized us to represent that it opposes this motion on both

substantive and procedural grounds, including that the defendant has not properly exhausted her

remedies under 18 U.S.C. § 3582 (c)(1)(A), but does not object to a 60-day continuance of

Ms. Janavs’ surrender date.

II.    PROCEDURAL BACKGROUND

       On October 21, 2019, Michelle Janavs pleaded guilty “straight up” to the indictment. There

was no agreement from the government to dismiss any of the charges or recommend a favorable

sentence. Ms. Janavs accepted responsibility for her crimes, stating (among other things): “There




8
 Office of the Attorney General, Memorandum for Director of Bureau of Prisons, April 3, 2020,
available at https://www.bop.gov/coronavirus/docs/bop_memo_home_confinement_april3.pdf.
                                              3
       Case 1:19-cr-10080-NMG Document 1098 Filed 04/22/20 Page 5 of 22



are truly no words to express my heartache and shame caused by my actions.” Dkt. No. 872

(February 25, 2020 Transcript) at 53. At sentencing, the government argued that a prison term

was necessary for general deterrence. Id. at 17. When this Court sentenced Ms. Janavs to five

months’ imprisonment, near the high end of the guideline range, it also emphasized the need for

general deterrence, stating “[y]our sentence needs not only to deter you from ever doing anything

like this again but also to deter anyone else who has the gall to use his or her wealth to disparage

our expectation for honest services from our public and private officials.” Id. at 54. The Court’s

words and the sentence itself were widely publicized by media outlets across the country. 9

       On March 2, 2020, Ms. Janavs’ counsel contacted the Court’s deputy clerk to request that

the Court expedite the Judgment and Commitment (“J&C”), because Ms. Janavs wanted to

surrender as quickly as possible. Ex. 1 (Declaration of John Littrell) at ¶ 2. Ms. Janavs was

designated by the BOP to serve her sentence at the Federal Prison Camp in Bryan, Texas. Id at ¶

3. Ms. Janavs was prepared to serve her custody term as ordered by the Court and planned to do

so. She wanted to pay her debt to society and put this behind her. Id at ¶ 4.

       Shortly after Ms. Janavs’ sentencing, the government produced exculpatory evidence that it

has since acknowledged should have been produced to the defendants (including Ms. Janavs) long

before Ms. Janavs pleaded guilty. See Dkt. No. 918. This Court continued Ms. Janavs’ surrender




9
 See, e.g., Barnini Chakraborty, Hot Pockets Heiress Sentenced to 5 Months in Prison in College
Admissions Scandal, Fox News, Feb. 25, 2020, available at https://www.foxnews.com/us/hot-
pockets-heiress-michelle-janavs-sentenced-college-admissions-scandal; David K. Li, Hot
Pockets Heiress Sentenced to 5 Months in Prison for Role in College Admissions Scandal, NBC
News, Feb. 25, 2020, available at https://www.nbcnews.com/news/us-news/hot-pockets-heiress-
sentenced-5-months-prison-role-college-admissions-n1142776; Matthew Ormseth, College
Admissions Scandal: Heir to Hot Pockets Fortune Sentenced to 5 Months, L.A. Times, Feb. 25,
2020, available at https://www.latimes.com/california/story/2020-02-25/college-admissions-
scandal-michelle-janavs-hot-pockets-sentenced; Travis Andersen, Hot Pocket Heiress Headed to
Prison in College Admissions Scandal, Boston Globe, Feb. 25, 2020, available at
https://www.bostonglobe.com/2020/02/25/metro/what-was-i-thinking-hot-pockets-heiress-faces-
sentencing-college-admissions-cheating-scandal/.
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       Case 1:19-cr-10080-NMG Document 1098 Filed 04/22/20 Page 6 of 22



date to May 7, 2020 to give her and her counsel time to review that evidence and determine whether

to pursue an appeal or post-conviction relief. Dkt. No. 946. Ms. Janavs has reviewed the evidence

and has decided that the delay and uncertainty surrounding an appeal or petition for post-conviction

relief would only prolong her punishment. She does not intend to pursue relief and has let the time

within which to file a notice of appeal lapse. She accepts the five-month sentence the Court imposed

and wishes to begin serving it now, but the conditions within the BOP make it unsafe to do so.

III.   FACTUAL BACKGROUND 10

       A.      COVID-19 is a Deadly and Rapidly Spreading Disease

       Since Ms. Janavs was sentenced, the COVID-19 pandemic has spread throughout the world

and the President of the United States has declared a national emergency. As of April 21, 2020,

the United States had 826,184 confirmed cases, the most of any country in the world. 11

       COVID-19 attacks the respiratory system and replicates quickly there. 12           When the

infection stays in the upper respiratory system it causes fever, congestion, and a dry cough. In a

significant number of patients, the infection spreads to the lungs. When COVID-19 spreads to the

lungs it also causes shortness of breath, chest pain, and severe inflammation. This inflammation

constricts the flow of oxygen and can further weaken the lungs. The result is pneumonia, which

is the most common cause of death in people infected with COVID-19. 13

       More people have died from COVID-19 in the U.S. than in any other country in the world.

As of April 21, 2020, 45,150 people have died in the United States alone, and those numbers are

increasing by the thousands each day. 14 On April 16, 2020, over 4,591 people died in a span of




10
   If the government contests any of these facts, Ms. Janavs requests an evidentiary hearing.
11
   John Hopkins, COVID-19 Global Cases Tracker (last visited April 22, 2020).
12
   Id.
13
   Id.
14
   Id.
                                                  5
       Case 1:19-cr-10080-NMG Document 1098 Filed 04/22/20 Page 7 of 22



twenty-four hours. 15 That death rate was nearly double the previous daily record of 2,569 deaths,

which was set the day before. 16 Projections for the impact of the virus are grim—on March 31,

2020, President Donald Trump and the White House COVID-19 Task Force announced that it

expected 100,000 to 240,000 people to die in the United States over the next couple of months. 17

       B.      Ms. Janavs Faces an Acute Risk of Serious Illness or Death from COVID-19
                                              REDACTED




15
   Jennifer Calfas et al., Reported U.S. Coronavirus Deaths Reach Record 4,591 in 24 Hours,
Wall Street Journal, April 17, 2020, available at https://www.wsj.com/articles/coronavirus-
surges-in-some-asian-countries-that-had-been-lightly-hit-11587031743?mod=rsswn.
16
   Id.
17
   Rick Noack, White House Task Force Projects 100,000 to 240,000 Deaths in U.S., Even with
Mitigation Efforts, The Washington Post, March 31, 2020, available at
https://www.washingtonpost.com/world/2020/03/31/coronavirus-latest-news/.
                                                 6
       Case 1:19-cr-10080-NMG Document 1098 Filed 04/22/20 Page 8 of 22



                                        REDACTED




       C.     Prison is an Ideal Environment for the Transmission of COVID-19

       Because of how quickly and easily COVID-19 can spread, the CDC recommends that

people engage in a number of preventative measures, including frequent handwashing and

sanitizing using alcohol-based hand sanitizers, cleaning and disinfecting frequently touched

surfaces (including tables, doorknobs, light switches, countertops, handles, desks, phones,

keyboards, toilets, faucets, and sinks), and wearing a cloth face covering whenever they must




18
   CDC, Preliminary Estimates of the Prevalence of Selected Underlying Health Conditions
Among Patients with Coronavirus Disease 2019 — United States, February 12–March 28, 2020,
March 31, 2020, available at https://www.cdc.gov/mmwr/volumes/69/wr/pdfs/mm6913e2-H.pdf.
19
   Id.
                                              7
       Case 1:19-cr-10080-NMG Document 1098 Filed 04/22/20 Page 9 of 22



venture out in public. 20 Most important, the CDC recommends that people “stay at home as much

as possible” and “put distance between [themselves] and other people.” 21

       None of these preventative measures is possible in prison. People in custody are in near

constant physical contact with other inmates and prison staff. Showers are rarely private, multiple

people share tiny and cramped living spaces, including exposed toilets and wash areas. Public

health officials are unanimous: incarcerated individuals are particularly vulnerable, and

“realistically, the best — perhaps the only — way to mitigate the damage and reduce the death toll

is to decrease the jail and prison population by releasing as many people as possible.” 22

       D.      The BOP’s COVID-19 Response Plan is Outdated and Ineffective

       The BOP’s plan to mitigate the spread of COVID-19 is to suspend social and legal visiting,

limit transfers of inmates, and screen inmates (and in some cases, staff) entering the facility. 23

       Notwithstanding these plans, inmate transportation continues. BOP reports that “all

inmates are being authorized for movements from all facilities” so long as (1) they have been in

BOP custody for greater than 14 days, and (2) the BOP performs an “exit screening” that confirms

that they do not have active symptoms or a temperature above 100.4 degrees. 24




20
   See CDC, How to Protect Yourself and Others.
21
   Id.
22
   See e.g., Jan Ransom et al., “A Storm is Coming”: Fears of an Inmate Epidemic as the Virus
Spreads in the Jails, N.Y. Times, Mar. 20, 2020, available at
https://www.nytimes.com/2020/03/20/nyregion/nyc-coronavirus-rikers-island.html; Jean Casella
& Katie Rose Quandt, US Jails Will Become Death Traps in the Coronavirus Pandemic, The
Guardian, Mar. 30, 2020, available at
https://www.theguardian.com/commentisfree/2020/mar/30/jails-coronavirus-us-rikers-island
(“From a public health and public safety standpoint, the solution to this crisis is quite simple: let
them go.”).
23
   See Federal Bureau of Prisons, BOP Implementing Modified Operations, available at
https://www.bop.gov/coronavirus/covid19_status.jsp (last visited April 22, 2020) (hereafter,
“BOP Modified Operations Plan”).
24
   Id.
                                                8
      Case 1:19-cr-10080-NMG Document 1098 Filed 04/22/20 Page 10 of 22



       BOP’s method of screening inmates for COVID-19 appears to be based on outdated

assumptions about who carries the disease and how it is spread. According to the BOP’s updated

COVID-19 Modified Operations Plan, all incoming inmates are screened for “exposure risk

factors” and symptoms. 25 But only those incoming inmates with both “exposure risk factors” and

symptoms are tested for COVID-19. 26 Inmates with “exposure risk factors” but no reported

symptoms are temporarily isolated, but they are not tested. Inmates with symptoms alone are

neither isolated nor tested. The BOP’s COVID-19 Modified Operations Plan does not define

what “exposure risk factors” are. The BOP’s Inmate Screening questionnaire suggests that those

“risk factors” are limited to self-reported recent travel by the inmate (within the last 14 days) to

various countries identified by the CDC as posing an increased risk of infection, or close contact

with someone “diagnosed with” COVID-19 within the last 14 days. See Ex. 3 (BOP COVID-19

Inmate Screening Tool). But a significant number of people carrying (and infecting others with)

COVID-19 are asymptomatic. The CDC has concluded that as many as 25% of people infected

with COVID-19 may not show symptoms. 27 The true figure may be much higher: in response to

a COVID-19 outbreak on a U.S. aircraft carrier, the Navy recently tested nearly all 4,800 crew

members; roughly 60% of the sailors who tested positive showed no symptoms. 28

       The process for screening staff appears to be similarly flawed. The BOP’s website suggests

that only BOP staff at medical referral centers or in areas of the country with “sustained community

transmission” are subjected to “[e]nhanced screening.” 29 And this “enhanced screening” appears



25
   Id.
26
   Id.
27
   Apoorva Mandavilli, Infected but Feeling Fine: The Unwitting Coronavirus Spreaders, N.Y.
Times, April 20, 2020, available at https://www.nytimes.com/2020/03/31/health/coronavirus-
asymptomatic-transmission.html.
28
   Paul Stewart et al., Coronavirus Clue? Most Cases Abroad U.S. Aircraft are Symptom-Free,
Reuters, April 16, 2020, available at https://www.reuters.com/article/us-health-coronavirus-usa-
military-sympt-idUSKCN21Y2GB.
29
   Federal Bureau of Prisons, BOP Modified Operations Plan.
                                                9
         Case 1:19-cr-10080-NMG Document 1098 Filed 04/22/20 Page 11 of 22



to consist of temperature checks and self-reporting—it does not require staff to disclose whether

they have been in high risk areas or venues or exposed to other symptomatic people. There is no

indication of how “enhanced” screening for BOP staff compares to “ordinary” screening, or if

there is any sort of “ordinary” screening for staff at all. Because BOP staff come and go between

their homes and BOP facilities regularly, they are a primary conduit for the disease.

         E.           The Number of COVID-19 Cases in the BOP is Rising Exponentially

         Not surprisingly, the BOP is experiencing a massive COVID-19 outbreak. On March 2,

2020, the BOP was reporting only two confirmed cases of COVID-19. As of April 21, 2020, there

were at least 540 BOP inmates and 323 BOP staff with confirmed cases of COVID-19. 30 That is

an increase of over 43,000 percent, far higher than the rate of transmission in the community. 31


                          Percentage of Increase of Infected People Since
                                            3/20/2020
           40000%

           35000%

           30000%

           25000%

           20000%

           15000%

           10000%

              5000%

                0%
                3/15/2020 3/20/2020 3/25/2020 3/30/2020 4/4/2020       4/9/2020 4/14/2020 4/19/2020

                                     BOP Percentage Increase Since 3/20/2020
                                     National Percentage Increase Since 3/20/2020




30
     Federal Bureau of Prisons, BOP COVID-19 Cases (last visited April 22, 2020).
31
     Id.
                                             10
      Case 1:19-cr-10080-NMG Document 1098 Filed 04/22/20 Page 12 of 22



       These numbers are almost certainly an undercount. Because only those inmates who have

symptoms and “exposure risk factors” are tested for COVID-19, the actual infection rates are likely

much higher. The disease is likely to spread even more quickly at this point because of the

uniquely conducive conditions at BOP facilities. New inmates are brought into the system

regularly, and inmates continue to be transferred to and from other facilities. BOP staff return to

their homes each night and report for work the next day, with each day representing another

opportunity to both become infected with the virus and spread it to inmates in their custody.

       BOP staff have reported dangerous and unhygienic conditions across the country. 32 The

New York Times “spoke[] with more than a dozen workers in the Bureau of Prisons,” who reported

that “federal prisons are ill-prepared for a coronavirus outbreak. 33 Many lack basic supplies like

masks, hand sanitizer, and soap.” 34 A BOP employee in Atlanta explained that staff does not have

enough gloves, masks, or other supplies to respond to this outbreak. Nor do they “have enough

space to properly quarantine inmates.” 35 One Texas federal prison worker told the New York

Times, “We don’t have the ventilators on hand at all. We are not a hospital. We don’t have the

medical staff.” 36 Staff at FCI Tallahassee, a low-security facility, confirmed that BOP is “just not

prepared to handle something of that nature.” 37 On March 31, 2020, BOP employees filed a



32
   See, e.g., Mitch Smith, et al., Coronavirus in the U.S.: Latest Map and Case Count, N.Y.
Times, Mar. 29, 2020, available at https://www.nytimes.com/interactive/2020/us/coronavirus-us-
cases.html (“Coronavirus in the U.S.”); Joseph Darius Jafari, Federal Government Said It Halted
Prison Transfers. They’re still Happening, PA Post, March 23, 2020, available at
https://papost.org/2020/03/23/federal-government-said-it-halted-prison-transfers-theyre-still-
happening/.
33
   Smith, Coronavirus in the U.S.
34
   Id.
35
   Id.
36
   Danielle Ivory, ‘We Are Not a Hospital’: A Prison Braces for the Coronavirus, N. Y. Times,
March 17, 2020, available at https://www.nytimes.com/2020/03/17/us/coronavirus-prisons-
jails.html.
37
   Keegan Hamilton, Sick Staff, Inmate Transfers, and No Test: How the U.S. is Failing Federal
Inmates as Coronavirus Hits, Vice News, March 24, 2020, available at
https://www.vice.com/en_us/article/jge4vg/sick-staff-inmate-transfers-and-no-tests-how-the-us-
                                                  11
      Case 1:19-cr-10080-NMG Document 1098 Filed 04/22/20 Page 13 of 22



complaint with the United States Department of Labor, Occupational Safety and Health

Administration (“OSHA”) alleging that the BOP’s policies were “proliferating the spread of a

known and deadly contagion” and that the agency’s “actions and inactions are expected to result

in death and severe health complications and/or possible life-long disabilities.” Ex. 4.

       In a recent memorandum, Attorney General William Barr acknowledged the obvious:

“Each time a new person is added to a jail, it presents at least some risk [of infection] to the

personnel who operate that facility and to the people incarcerated therein. It also presents risk to

the individual being remanded into custody – risk that is particularly acute for individuals who are

vulnerable to a serious infection under the [CDC] Guidelines.” Ex. 5.

IV.    LEGAL STANDARD

        A court may grant a sentence reduction either upon motion of the Director of the BOP, or

upon motion of the defendant after “the lapse of 30 days from receipt of such a request [from the

defendant] by the warden of the defendant’s facility, whichever is earlier. . . .” 18 U.S.C. §

3582(c)(1)(A). In order to modify a sentence, a district court must engage in a three-step process.

       First, the court must consider the 18 U.S.C. § 3553(a) factors. 18 U.S.C. § 3582(c)(1)(A).

       Second, the court must find that “extraordinary and compelling reasons warrant such a

reduction” and “that such a reduction is consistent with applicable policy statements issued by the

Sentencing Commission[.]” 18 U.S.C. § 3582(c)(1)(A)(i). The Sentencing Commission has

determined that “extraordinary and compelling reasons” include (1) medical conditions which

diminish the ability of the defendant to provide self-care in prison, (2) age-related deterioration,

(3) family circumstances, and (4) other extraordinary and compelling reasons that exist either

separately or in combination with the previously described categories. USSG § 1B1.13.




is-failing-federal-inmates-as-coronavirus-hits.
                                                  12
      Case 1:19-cr-10080-NMG Document 1098 Filed 04/22/20 Page 14 of 22



       Third, the Court must find that “the defendant is not a danger to the safety of any other

person or to the community, as provided in 18 U.S.C. § 3142(g).” 18 U.S.C. § 3582(c)(1)(A).

V.     THE COURT SHOULD MODIFY MS. JANAVS’ SENTENCE PURSUANT TO §
       3582(c)

       A. Ms. Janavs has Fulfilled § 3582(c)’s Exhaustion Requirement

       Ms. Janavs has exhausted her administrative remedies. On March 23, 2020, counsel for

Ms. Janavs sent a letter to Warden Steve Mora of FPC Bryan, where Ms. Janavs has been

designated, asking the BOP to convert her five-month prison sentence to home confinement

because of the COVID-19 pandemic. Ex. 1 (Declaration of John Littrell) at ¶ 5. On April 1, 2020,

counsel spoke with Jason Sickler, Regional Counsel for the Bureau of Prisons, to follow up on the

request. Id. at ¶ 6. Mr. Sickler stated that the BOP had received the request, but that because Ms.

Janavs is not yet in custody, the BOP would not move for a sentencing modification on her behalf.

Id. Thirty days have passed since Ms. Janavs’ letter to the Warden requesting a motion for a

sentencing modification, and there has been no further response from BOP.

       Ms. Janavs has therefore exhausted her administrative remedies. She has done so by (1)

petitioning the BOP; (2) following up on the request; and (3) being told that the BOP cannot grant

her any relief because she is not yet in custody. See United States v. Macfarlane, No. CR 19-

10131-NMG, 2020 WL 1866311, at *1 (D. Mass. Apr. 14, 2020) (“Defendant Macfarlane has

requested that the BOP file a motion to reduce his sentence and the BOP has denied that request.

The Court finds that defendant has therefore fully exhausted his administrative rights and his

motion is properly before this Court.”); see also United States v. Gonzalez, CR 18-0232-TOR, Dkt.

No. 834 (E.D.WA. Mar. 31, 2020) (Defendant exhausted administrative remedies by petitioning

the BOP, giving them notice, and being told she does not have any remedies she can pursue.).

       Alternatively, Ms. Janavs has exhausted her administrative remedies within BOP

because thirty days have lapsed since her request to the warden. See 18 U.S.C. § 3582(c)(1)(A).

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      Case 1:19-cr-10080-NMG Document 1098 Filed 04/22/20 Page 15 of 22



       Any attempt to further exhaust administrative remedies would be futile because the BOP

has already made clear that it will not grant Ms. Janavs request because she is not in BOP custody.

See United States. v. Powell, CR 94-00316-ESH, Dkt. No. 98 (D.D.C. Mar. 28, 2020); United

States v. Perez, CR 17-00513-AT, Dkt. No. 98 (SDNY Apr. 1, 2020).

       B.      The 3553(a) Factors Favor Reducing the Sentence to Home Confinement

       Ms. Janavs is a 49-year-old non-violent first-time offender. Dkt. No. 872 at 53. Congress

has recognized the “general appropriateness” of permitting a defendant to serve “a sentence other

than imprisonment in cases in which the defendant is a first offender who has not been convicted

of a crime of violence or an otherwise serious offense.” 28 U.S.C. § 994(j). Ms. Janavs is also a

mother of three and a philanthropist who has dedicated decades of her life to helping others,

particularly vulnerable children. The Court recognized Ms. Janavs’ heart-felt remorse and her

“many deeds of charity and kindness” and found that those and other unique circumstances

warranted a “reduction in what otherwise would be a warranted sentence.” Id.

       Though the Court imposed a five-month prison term, it found that the advisory sentencing

range was zero to six months and fell within Zone A of the sentencing table. The Sentencing

Commission has indicated that “[i]f the defendant is a nonviolent first offender and the applicable

guideline range is in Zone A or B of the Sentencing Table, the court should consider imposing a

sentence other than a sentence of imprisonment . . . .” U.S.S.G. § 5C1.1, Cmt. n. 4 (2018).

       The Court’s sentence was driven by the need to “reflect the seriousness of the offense, to

promote respect for the law, and to provide just punishment for the offense,” and the need to

“afford adequate deterrence to criminal conduct.” 18 U.S.C. § 3553(a)(2)(A), (B). There was no

discussion of the need to “provide the defendant with needed . . . medical care . . . ,” 18 U.S.C. §

3553(a)(2)(D), or to protect BOP staff and inmates from additional risk of infection, because the

COVID pandemic had not yet begun in the United States. If Ms. Janavs were sentenced today, the


                                                14
       Case 1:19-cr-10080-NMG Document 1098 Filed 04/22/20 Page 16 of 22



Court would naturally consider Ms. Janavs’ heightened risk of infection if incarcerated, increased

likelihood of suffering serious illness or death if infected because of her underlying medical

condition, and the additional risk to BOP staff, their families and communities, and other inmates

from placing yet another individual in prison at a time when BOP has been directed to reduce the

prison population. Those factors would strongly support a sentence of five months’ home

confinement, where enforced social isolation would help safeguard everyone’s health.

       If Ms. Janavs were to surrender to a BOP facility for her sentence now, she (like any inmate

surrendering to BOP under the current circumstances) would pose a risk to staff and inmates. She

could introduce the virus into the facility, and that virus could infect others, including inmates and

staff, who may also have underlying health conditions. Moreover, if Ms. Janavs were to become

infected with COVID-19, there is a high likelihood that she would have to be hospitalized to

prevent the rapid deterioration seen in other    REDACTED       COVID-19 patients. The resources

needed to save Ms. Janavs’ life could be, and should be, used for someone else.

       C.      Ms. Janavs Poses No Danger to Anyone

       It is undisputed that Ms. Janavs poses no danger to any other person or the community.

       D.      Extraordinary Circumstances Warrant Home Confinement

       This Court has already held that the COVID-19 pandemic is an extraordinary and

compelling circumstance warranting release to home confinement. See Macfarlane, 2020 WL

1866311, at *1. It did so in a case where the defendant was not even health compromised. The

Court reasoned that release was warranted in light of the COVID-19 pandemic and national

emergency, the particular risk of infection and transmission risk in penitentiary facilities, the fact

that the defendant was a non-violent first offender who posed no danger to the community, and

the fact that he was subject to quarantine in solitary confinement in a higher-security facility.




                                                 15
      Case 1:19-cr-10080-NMG Document 1098 Filed 04/22/20 Page 17 of 22



       That logic applies with even greater force here because Ms. Janavs has a health condition

rendering her particularly vulnerable. See United States v. Huneeus, No. CR 19-10117, Dkt. No.

642 (D. Mass. Mar. 17, 2020) (finding that extraordinary and compelling circumstances warranted

sentence modification and ordering defendant released to home confinement “in light of the

national state of emergency due to the global COVID-19 pandemic and Huneeus’ unique health

circumstances . . . .”); see also United States v. Sloane, No. CR 19-10117-IT, Dkt. No. 647 (finding

that release “may well be warranted in light of the pandemic due to COVID-19, the national

emergency as declared by the President of the United States, the risk of infection and transmission

for inmates and staff posed by the population density of prisons, and the fact that Defendant is a

first time offender who does not pose a danger to the safety of another person or the community,”

but denying motion because of unexplained failure to exhaust administrative remedies).

       Other courts in this district have reversed previous detention orders as a result of the

COVID-19 pandemic and the concomitant risk to detainees. See, e.g., United States v. Juan

Ramos, No. 18-CR-30009-FDS, 2020 WL 1478307, at *1 (D. Mass. Mar. 26, 2020) (ordering pre-

trial release for a defendant who had previously been found to be a risk of flight and danger to the

community because defendant was diabetic and asthmatic and therefore at high risk for contracting

COVID-19); Maria Savino v. Steven J. Souza, --- F. Supp. 3d ---, No. CV 20-10617-WGY, 2020

WL 1703844, at *8 (D. Mass. Apr. 8, 2020) (granting bail for habeas petitioners in ICE custody

to prevent risk of COVID-19 infection after finding that “[e]ven the young and otherwise healthy

detainees face a ‘substantial risk’” of serious harm from COVID-19).

       Indeed, if Ms. Janavs were in custody now, it is likely that she would be processed for

release to home confinement. On March 26, 2020, the Attorney General directed the BOP to use

its authority to “prioritize” the transfer of eligible prisoners to home confinement in order to

prevent the spread of COVID-19. Ex. 6 (March 26, 2020 Memorandum). The Attorney General


                                                16
      Case 1:19-cr-10080-NMG Document 1098 Filed 04/22/20 Page 18 of 22



noted that “in assessing which inmates should be granted home confinement” the BOP should

consider a number of factors, including (1) the age and vulnerability of the inmate to COVID-19,

in accordance with the [CDC] guidelines, (2) the security level of the facility currently holding the

inmate, (3) the inmate’s PATTERN score, (4) the existence of a verifiable reentry plan, and (5)

the inmate’s crime of conviction and assessment of the danger posed by the inmate to the

community. All the criteria set forth in that memo would favor Ms. Janavs’ release. Eight days

later, the Attorney General expanded that directive in response to “significant levels of infection

at several [BOP] facilities.” Ex. 7 (April 3, 2020 Memorandum). He acknowledged that the BOP’s

precautions “have not been perfectly successful” at all BOP institutions and directed BOP staff to

“move with dispatch in using home confinement, where appropriate, to move vulnerable inmates

out of these institutions.” Id. The Attorney General directed that “all at-risk inmates – not only

those who were previously eligible for transfer” should be processed for release. Id.

       But the process of releasing current prisoners to home confinement has proved to be a

logistical nightmare for the BOP and a harrowing ordeal for prisoners. As this Court saw in the

case of Mr. Macfarlane, the BOP required him to undergo a 14-day locked-down quarantine prior

to being released. Macfarlane, 2020 WL 1866311, at *1. Because the camp where he was housed

had no quarantine facility, he was transferred to a higher-security facility where he was confined

to a cell for 23 hours a day and was not able to contact his family. Id. This Court found that

Macfarlane’s two-week confinement in solitary quarantine was the “equivalent of two months in

the Camp to which he was originally assigned.” Id. It would serve no purpose to require Ms.

Janavs to surrender to the custody of the BOP when the BOP is scrambling to process defendants

like her for transfer out of custody, and into home confinement. The process of surrendering to a

remote BOP facility, seeking early release, and then being transferred to another facility where she




                                                 17
       Case 1:19-cr-10080-NMG Document 1098 Filed 04/22/20 Page 19 of 22



might have to spend 14-days in solitary confinement would create unnecessary risk and hardship

for Ms. Janavs, other inmates, and BOP staff, their families, and communities.

       Nor would a temporary delay in Ms. Janavs’ surrender date solve the problem. Public

health experts warn that the U.S. will likely be hit by a second wave of COVID-19 cases. 38 Dr.

Robert Redfield, CDC director and virologist, has stated that the CDC is preparing “most likely,

for another wave that we would anticipate in the late fall, early winter where there will still be a

substantial portion of Americans that are susceptible.” 39 Even without a second wave the virus

will persist as a threat to public health until a vaccine is made available to the public, which could

take 12-18 months. 40 A recent study by Harvard University’s T.H. Chan School of Public Health

warned that social distancing may be necessary into 2022. 41 And even if the U.S. is able to “flatten

the curve” in the general population, there is no sign of flattening in the BOP.

       Moreover, a delay of the surrender date would cause a hardship for Ms. Janavs. She pled

guilty straight up and chose not to pursue an appeal or post-conviction relief because she wanted

to pay her debt to society and put this behind her. Delaying her surrender date not only prolongs

the anxiety and anticipation of serving time, it also delays the date she finishes her term.




38
   See Sam Whitehead, CDC Director on Models for the Months to Come: “This Virus Is Going
to be with Us”, NPR, March 31, 2020, available at https://www.npr.org/sections/health-
shots/2020/03/31/824155179/cdc-director-on-models-for-the-months-to-come-this-virus-is-
going-to-be-with-us.
39
   Id.
40
   See Noah Higgins-Dunn, White House advisor Fauci says coronavirus vaccine trial is on
target and will be ‘ultimate game changer’, CNBC, April 1, 2020, available at
https://www.cnbc.com/2020/04/01/white-house-advisor-fauci-says-coronavirus-vaccine-trial-is-
on-target-and-will-be-ultimate-game-changer.html.
41
   Stephen M. Kissler et al., Projecting the transmission dynamics of SARS-CoV-2 through the
postpandemic period, April 14, 2020, available at https://www.hsph.harvard.edu/news/hsph-in-
the-news/intermittent-social-distancing-may-be-needed-through-2022-to-manage-covid-19/. ©
                                                 18
       Case 1:19-cr-10080-NMG Document 1098 Filed 04/22/20 Page 20 of 22



VI.    THE EIGHTH AMENDMENT ALSO REQUIRES A SENTENCE OF HOME
       CONFINEMENT

       The Eighth Amendment bars “cruel and unusual punishments,” which includes deliberate

indifference to unsafe, life-threatening conditions and punishments that “involve the unnecessary

and wanton infliction of pain” or “are grossly disproportionate to the severity of the crime.” Estelle

v. Gamble, 429 U.S. 97, 103–05 (1976); Rhodes v. Chapman, 452 U.S. 337, 346 (1981); see also

Helling v. McKinney, 509 U.S. 25, 33 (1993) (citation omitted); Hutto v. Finney, 437 U.S. 678,

682-83 (1978) (punitive confinement with prisoners who suffered from infectious diseases, in

which mattresses were “removed and jumbled together each morning, then returned to the cells at

random in the evening” violated Eighth Amendment). Under ordinary circumstances, a five-

month prison term would raise no Eighth Amendment concerns.                But given the rampant,

uncontrolled spread of COVID-19 in the BOP, and the acute risks that infection poses to Ms.

Janavs, incarceration would be grossly disproportionate to the severity of her crime.

VII.   CONCLUSION

       For the reasons stated above, Michelle Janavs moves to modify her sentence of

imprisonment from a term of five months incarceration in the custody of the Bureau of Prisons

(“BOP”) to a term of supervised release with a condition of five months’ home incarceration.

                                       Respectfully Submitted,

                                       MICHELLE JANAVS

                                       By her attorneys,

 Dated: April 22, 2020                 /s/ John L. Littrell
                                       Thomas H. Bienert, Jr. (pro hac vice)
                                       John Littrell (pro hac vice)
                                       Bienert | Katzman PC
                                       903 Calle Amanecer, Suite 350
                                       San Clemente, CA 92673
                                       Tel: (949) 369-3700
                                       tbienert@bienertkatzman.com
                                       jlittrell@bienertkatzman.com

                                                 19
Case 1:19-cr-10080-NMG Document 1098 Filed 04/22/20 Page 21 of 22




                       William Weinreb (BBO #557826)
                       Quinn Emanuel Urquhart & Sullivan, LLP
                       111 Huntington Ave, Suite 520
                       Boston, MA 02199
                       Tel: (617) 712-7114
                       billweinreb@quinnemanuel.com

                       Jonathan L. Kotlier (BBO #545491)
                       Nutter, McClennen & Fish, LLP
                       155 Seaport Boulevard
                       Boston, MA 02210-2604
                       Tel: 617-439-2000
                       jkotlier@nutter.com




                               20
       Case 1:19-cr-10080-NMG Document 1098 Filed 04/22/20 Page 22 of 22



                                 CERTIFICATE OF SERVICE

       I, John Littrell, hereby certify that on April 22, 2020, this document, filed through the

CM/ECF system, will be sent electronically to all registered participants in this matter as identified

on the Notice of Electronic Filing (NEF).



                                                                      /s/ John L. Littrell
                                                                        John L. Littrell




                                                 21
